        CASE 0:22-cr-00178-SRN-DTS Doc. 14 Filed 08/23/22 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


United States of America,                       Case No. 22-cr-178 (SRN/DTS)

      Plaintiff,
                                                ARRAIGNMENT ORDER
v.

Deveon Marquise Branch (1),

      Defendant.


      An arraignment hearing was held before United States Magistrate Judge Becky R.

Thorson on August 22, 2022. Samantha Bates, Assistant United States Attorney,

appeared on behalf of the Government; Glenn Bruder, CJA Appointed Counsel, appeared

on behalf of Defendant, who was present.

      Defendant identified himself by name and birth date, waived a reading of the

Indictment, and entered a plea of not guilty. Pursuant to Local Rule 12.1 (copy attached),

      IT IS HEREBY ORDERED:

      1.      The Government must make all disclosures required by Federal Rule of

Criminal Procedure 16(a) by August 29, 2022. D. Minn. LR 12.1(a)(1). In order to avoid

the need for a recess of the motions hearing, the Government is requested to make by

August 29, 2022 all disclosures which will be required by Fed. R. Crim. P. 26.2 and 12(h).

      2.      Defendant must make all disclosures required by Federal Rule of Criminal

Procedure 16(b) by September 6, 2022. D. Minn. LR 12.1(a)(2).
        CASE 0:22-cr-00178-SRN-DTS Doc. 14 Filed 08/23/22 Page 2 of 3




       3.     All motions in the above-entitled case must be filed and served consistent

with Federal Rules of Criminal Procedure 12(b) and 47 on or before September 13,

2022.1 D. Minn. LR 12.1(c)(1).

       4.     Counsel must electronically file a letter on or before September 13, 2022 if

no motions will be filed and there is no need for a motions hearing.

       5.     All responses to motions must be filed by September 27, 2022. D. Minn.

LR 12.1(c)(2).

       6.     Any Notice of Intent to Call Witnesses2 must be filed by September 27,

2022. D. Minn. LR 12.1(c)(3)(A).

       7.     Any Responsive Notice of Intent to Call Witnesses3 must be filed by

September 30, 2022. D. Minn. LR 12.1(c)(3)(B).

       8.     A motions hearing will be held pursuant to Federal Rules of Criminal

Procedure 12(c) where:

              a.     The Government makes timely disclosures and defendant identifies
                     in the motions particularized matters for which an evidentiary hearing
                     is necessary; or



1 “Before filing a motion under Fed. R. Crim. P. 12(b), the moving party must confer with
the responding party. The parties must attempt in good faith to clarify and narrow the
issues in dispute.” D. Minn. LR 12.1(b).
2 “When a party intends to call witnesses at a hearing on a motion under Fed. R. Crim.
P. 12(b), the party must file a notice within 35 days after the arraignment. The notice must
identify the number of witnesses whom the party intends to call, the motion or motions
that each witness will be addressing, and the estimated duration of each witness’s
testimony.” D. Minn. LR 12.1(c)(3)(A).
3 “If after reviewing a notice under LR 12(c)(3), a party intends to call witnesses at the
same hearing, that party must file a responsive notice within 38 days after the
arraignment. The responsive party must identify the number of witnesses whom the party
intends to call, the motion or motions each witness will be addressing, and the estimated
duration of each witness’s testimony.” D. Minn. LR 12.1(c)(3)(B).
        CASE 0:22-cr-00178-SRN-DTS Doc. 14 Filed 08/23/22 Page 3 of 3




             b.     Oral argument is requested by either party in its motion, objection or
                    response pleadings.

      9.     If required, the motions hearing will be heard before Magistrate Judge David

T. Schultz on October 11, 2022 at 4:00 p.m. in Courtroom 9E, U.S. Courthouse, 300

South Fourth Street, Minneapolis, Minnesota. D. Minn. LR 12.1(d).

      10.    TRIAL:

      a.     If no pretrial motions are filed by defendant, the following trial and trial-
             related dates are:

             Voir Dire, Jury Instructions and trial-related motions (including motions in
             limine) shall be submitted to District Judge Susan Richard Nelson on or
             before October 17, 2022.

             Trial will commence before District Judge Susan Richard Nelson at 9:00
             a.m. on October 24, 2022 in Courtroom 7B, U.S. Courthouse, 316 North
             Robert Street, St. Paul, Minnesota.

      b.     If pretrial motions are filed, the trial date, and other related dates, will be
             rescheduled following the ruling on pretrial motions. Counsel must contact
             the Courtroom Deputy for District Judge Susan Richard Nelson to confirm
             the new trial date.


Dated: August 23, 2022                          ___s/David T. Schultz____
                                                DAVID T. SCHULTZ
                                                U.S. Magistrate Judge
